              Case 19-11466-MFW                Doc 1298-1        Filed 01/07/20         Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
In re:
                                                                Case No.: 19-11466 (KG)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                  (Jointly Administered)
et al.,1

                                    Debtors.

                                      CERTIFICATE OF SERVICE

         I, Thomas M. Horan, hereby certify that on January 7, 2020, a true and correct copy of the

Certificate of No Objection Regarding the Fourth Monthly Fee Application of Fox Rothschild LLP

for Services Rendered and Reimbursement of Expenses as Counsel to the Official Committee of

Unsecured Creditors for the Period November 1, 2019 through November 30, 2019 were served

by First Class mail to the parties on the attached service list.

    Dated: January 7, 2020                               /s/ Thomas M. Horan
                                                         Thomas M. Horan (DE No. 4641)




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.




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         Case 19-11466-MFW        Doc 1298-1       Filed 01/07/20    Page 2 of 2




                                        Service List

Center City Healthcare, LLC                    Saul Ewing Arnstein & Lehr LLP
Attn: Allen Wilen, CRO                         Attn: Mark Minuti, Esq. and Monique B.
230 North Broad Street                         DiSabatino, Esq.
Philadelphia, PA 19102                         1201 North Market Street
                                               Suite 2300
                                               Wilmington, DE 19801

Saul Ewing Arnstein & Lehr LLP                 The Office of the United States Trustee
Attn: Jeffrey Hampton, Esq. and Adam H.        Attn: Benjamin A. Hackman, Esq.
Isenberg, Esq.                                 844 N. King Street, Suite 2207
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38th Floor                                     Wilmington, DE 19801
Philadelphia, PA 19102

Stradley, Ronon, Stevens & Young, LLP          Stradley, Ronon, Stevens & Young, LLP
Attn: Gretchen M. Santamour, Esq.              Attn: Joelle E. Polesky, Esq.
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